Case 2:05-cr-20048-SH|\/| Document 15 Filed 04/25/05 Page 1 of 3 Page|D 21

F.‘mf:'-
IN THE UNITED sTATEs DISTRICT cOURT ' 016
FOR THE wEsTERN DISTRICT OF TENNESSEE U_ __ _( _H__` __
wEsTERN DIvIsION 3"1;"1‘- ab ';'; ,1;;

 

    

i;- ;t §§ 0
‘}/f`] (~»-!:if\]‘ l‘,'.‘ J-I:
`\... J!`| l;,.§“‘i_ n
UNITED STATES OF AMERICA wl .;P’HIQ

Plaintiff,

Criminal No. 05 - Z.OD"`Q` Ml

(30-Day Continuance)

ZL.)¢\\ Ceope\r Ha~jn 36

 

 

 

 

 

v-_/\_/~_/\_z\_/\_/\_r\_r`_z-_/\_/~_/VV~_/~_,-V~_/v

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated_ by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,

V`\`a +clepl~ov\o w.'l$"
criminal rotation calendar, but is now RESET for reporckat §g££*
a.m. on FridaV, MaV 27, 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy

Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

This document entered on the docket sheet in compliance f
Wim nme 55 arm/ur 32{b) mach on “ 'l

Case 2:O5-cr-20048-SHI\/| Document 15 Filed 04/25/05 Page 2 of 3 Page|D 22

SO ORDERED this 22nd day of April, 2005.

dewitt

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

L(/,)rw/»£ C. /Wu»*é&

Assistant United States Attorney

Oa-£ C)»-Q% °~q%u»t%'

 

 

 

 

Counsel for Defendant(s)

iSTRiC COURT - ESTERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 15 in
case 2:05-CR-20048 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Paul Conley

RAINEY KIZER BUTLER REVIERE & BELL
105 S. Highland Avenue

Jackson7 TN 38302--1 14

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

